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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


DANELL SMITH,

          Petitioner,                                        Civil No. 04-70961
v.                                                           Crim. No. 00-80762

UNITED STATES OF AMERICA,                                    Honorable John Corbett O’Meara

          Respondent.
                                         /

                 ORDER DENYING CERTIFICATE OF APPEALABILITY

       On July 26, 2004, this court denied petitioner Danell Smith’s motion to vacate sentence under

28 U.S.C. § 2255. Petitioner filed a timely application for certificate of appealability. Pursuant to

28 U.S.C. § 2253(c)(2), the court may issue a certificate of appealability if the petitioner has made

a substantial showing of the denial of a constitutional right.

                [T]he petitioner need not show that he should prevail on the merits.
                He has already failed in that endeavor. Rather, he must demonstrate
                that the issues are debatable among jurists of reason; that a court
                could resolve the issues [in a different manner] or that the questions
                are ‘adequate to deserve encouragement to proceed further.’

Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983); Hence v. Smith, 49 F. Supp. 2d 547, 549 (E.D.

Mich. 1999).

       In this case the court finds that Petitioner has not made a substantial showing of the denial of

a federal right. Therefore, it is hereby ORDERED that the motion for certificate of appealability

is DENIED.

              s/John Corbett O'Meara
              John Corbett O'Meara
              United States District Judge
Dated: May 10, 2005
